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                    IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION




UNITED STATES OF AMERICA                                                  PLAINTIFF

vs.                            NO. 4:05CR00305-019 SWW

JAMES FREDERICK HOWARD                                                    DEFENDANT



                                            ORDER

       Pending before the Court is the government's motion to dismiss the revocation petition

against the above named defendant in this matter. For good cause shown, the Court finds that the

motion should be granted.

       IT IS THEREFORE ORDERED that the government’s motion to dismiss the pending

petition to revoke supervised release [doc #1303] is granted. The motion to revoke probation [doc

#1295] is denied as moot and the hearing previously scheduled Friday, December 6, 2013 at 1:00

p.m. is canceled.

       DATED this 3rd day of December 2013.


                                                    /s/Susan Webber Wright
                                                    United States District Judge
